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                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                 GREENVILLE DIVISION

 IN RE:                            )
                                   )
 CAH ACQUISTION COMPANY #1, LLC    )                         Case No. 19-00730-5-JNC
 d/b/a WASHINGTON COUNTY HOSPITAL, )                         Chapter 11
                                   )
        Debtor.                    )

              TRUSTEE’S APPLICATION FOR EXTENSION OF “ACCEPTANCE”
                      PERIOD PURSUANT TO 11 U.S.C. § 1121(c)(3)

        NOW COMES Thomas W. Waldrep, Jr., Chapter 11 Trustee (the “Trustee”), by and through his

 undersigned counsel, and respectfully moves this Court for an Order extending the period for obtaining

 acceptances of the Plan pursuant to 11 U.S.C. § 1121(d)(2)(B) (“ the Acceptance Deadline). In support of

 said Application, the Trustee shows unto the Court as follows:

        1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a

 core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.     On February 19, 2019, Washington County, North Carolina, Medline Industries, Inc., and Dr.

 Robert Venable filed an involuntary petition for relief under Chapter 7 of the Bankruptcy Code against

 CAH Acquisition Company #1, LLC d/b/a Washington County Hospital. An Order appointing Thomas W.

 Waldrep, Jr. as Trustee was entered on February 22, 2019. The case converted to one under Chapter 11 on

 March 15, 2019.

        3.     On October 17, 2019, the Trustee filed the Amended Chapter 11 Plan and Disclosure

 Statement for the Estate. Confirmation has been scheduled for December 10, 2019.

        4.     The Trustee requests that the Acceptance Deadline be extended ninety (90) days from

 December 10, 2019 to March 9, 2020.
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          5.     An Order allowing the extension as requested in this Application will not prejudice any

 party.

          WHEREFORE, the Trustee respectfully prays that the Acceptance Deadline be extended to March

 9, 2020.

 DATED: December 5, 2019              WALDREP LLP
                                      /s/ Thomas W. Waldrep, Jr.
                                      Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                      Jennifer B. Lyday (NC Bar No. 39871)
                                      Francisco T. Morales (NC Bar No. 43079)
                                      James C. Lanik (NC Bar 30454)
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                                      Email: notice@waldrepllp.com

                                      - and -

                                       HENDREN, REDWINE & MALONE, PLLC
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                                       Rebecca F. Redwine (NC Bar No. 37012)
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                            UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                  GREENVILLE DIVISION

 IN RE:                            )
                                   )
 CAH ACQUISTION COMPANY #1, LLC    )                          Case No. 19-00730-5-JNC
 d/b/a WASHINGTON COUNTY HOSPITAL, )                          Chapter 11
                                   )
        Debtor.                    )

                 NOTICE OF TRUSTEE’S APPLICATION FOR EXTENSION OF
                 “ACCEPTANCE” PERIOD PURSUANT TO 11 U.S.C. § 1121(c)(3)

        NOTICE IS HEREBY GIVEN of the TRUSTEE’S APPLICATION FOR EXTENSION OF
 “ACCEPTANCE” PERIOD PURSUANT TO 11 U.S.C. § 1121(c)(3) filed simultaneously herewith in the
 above-captioned case; and,

        FURTHER NOTICE IS HEREBY GIVEN that this Motion may be allowed provided no response
 and request for a hearing is made by a party in interest within TWENTY-ONE (21) DAYS and

         FURTHER NOTICE IS HEREBY GIVEN, that if a response and a request for a hearing is filed by a
 party in interest in writing within the time indicated, a hearing will be conducted on the Motion and
 response thereto at a date, time and place to be later set by the Court and all interested parties will be
 notified accordingly. If no request for a hearing is timely filed, the Court may rule on the Motion and
 response thereto ex parte without further notice. Any party filing an objection requesting a hearing shall
 appear at said hearing or they may be taxed with Court costs.

 DATE OF NOTICE: December 5, 2019             WALDREP LLP

                                              /s/ Thomas W. Waldrep, Jr.
                                              Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                              Jennifer B. Lyday (NC Bar No. 39871)
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                                               - and -
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                                HENDREN, REDWINE & MALONE, PLLC

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                                Co-Counsel for the Trustee
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                                     CERTIFICATE OF SERVICE

        I, Jason L. Hendren, 4600 Marriott Drive, Suite 150, Raleigh, North Carolina 27612, certify:

        That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of age;

         That on the 5th day of December, 2019 I served copies of the foregoing document on the parties
 listed below electronically as directed in the Order Limiting Notice.

        I certify under penalty of perjury that the foregoing is true and correct.

 Respectfully submitted this the 5th day of December, 2019.

                                       WALDREP LLP

                                        /s/ Thomas W. Waldrep, Jr.
                                        Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                        Jennifer B. Lyday (NC Bar No. 39871)
                                        Francisco T. Morales (NC Bar No. 43079)
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                                       - and -

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                                        Co-Counsel for the Trustee

 Marjorie K. Lynch                                     (via CM/ECF)
 Office of the Bankruptcy Administrator
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 Brian R. Anderson                              (via CM/ECF)
 Nancy A. Peterman
 Counsel for Health Care Ombudsman

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 John Paul H. Cournoyer                         (via CM/ECF)
 Counsel for Paul Nusbaum & Steve White

 Jonathan E. Friesen                            (via CM/ECF)
 Counsel for Wendy C. Phillips

 Terri L. Gardner                               (via CM/ECF)
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 Counsel or Complete Business Solutions

 John M. Sperati                              (via CM/ECF)
 Counsel for Somerset Capital Group
